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Exhibit F:   ADC SMI Determination Form
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For purposes of the performance measures, the following definitions will be used:

TERM                      DEFINITION
Active labor & delivery   Contractions lasting 45-60 seconds and being 3 to 4 minutes
                          apart
ASPC                      Arizona State Prison Complex. ASPC- Safford includes Ft
                          Grant. ASPC-Florence includes Globe. ASPC-Winslow
                          includes Apache.
ATP                       Alternate Treatment Plan
Chronic Disease           Chronic diseases include the following:
                           diabetes
                           HIV/AIDs
                           cancer
                           hypertension
                           Respiratory disease (for example, COPD / asthma / cystic
                              fibrosis)
                           Seizure Disorder
                           heart disease
                           sickle cell disease
                           Hepatitis C
                           Tuberculosis
                           Neurological disorders (Parkinson’s, multiple sclerosis,
                              myasthenia gravis, etc.)
                           Cocci (Valley Fever)
                           End-Stage Liver Disease
                           Hyperlipidemia
                           Renal Diseases
                           Blood Diseases (including those on anticoagulants (or long
                              term >six months))
                           Rheumatological Diseases (including lupus, rheumatoid
                              arthritis)
                           Hyperthyroidism
                           Crohn’s Disease
Contracted Vendor         For purposes of this agreement, contracted vendor refers
                          directly to Corizon Health and its subcontractors, or any
                          successor contractor/subcontractor.
CQI                       Continuous Quality Improvement
Diagnostic Service        Lab draws and specimen collections, X-rays, vision testing,
                          and hearing testing
DOT                       Direct-observation therapy (watch-swallow) (medications)
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TERM                    DEFINITION
Effective date of the   The date on which the Court grants final approval to the
Stipulation             Stipulation.
Encounter               Interaction between a patient and a qualified healthcare
                        provider that involves a treatment and/or exchange of
                        confidential information.
Healthcare staff        Includes QHCPs as well as administrative and support staff
                        (e.g. health record administrators, lab techs, nursing and
                        medical assistants and clerical workers).
HNR                     Health Needs Request
HSCMB                   ADC’s Health Services Compliance Monitoring Bureau
IPC                     Inpatient Component / Infirmary beds
IR                      Incident Report
KOP                     Keep-on-person (medications)
Licensed                Healthcare staff who hold an active and unrestricted license in
                        the State of Arizona in the relevant professional discipline.
MAR                     Medication Administration Record
Medical Provider        Physician, Dentist, Nurse Practitioner, Physician’s Assistant-C.
                        Any health care practitioner who has been duly empowered by
                        the State of Arizona to write prescriptions.
Mental Health Clinician Psychologist, Psychology Associate
Mental Health Provider Psychiatrist, Psychiatry Nurse Practitioner
Mental Health Staff     Includes QHCP’s who have received instruction and
                        supervision in identifying and interacting with individuals in
                        need of mental health services.
MH-1                    Inmates who have no history of mental health issue or
(Mental Health 1)       treatment
MH-2                    Inmates who do not currently have mental health needs and are
(Mental Health 2)       not currently in treatment but have had treatment in the past
MH-3                    Inmates with Mental Health needs, who require current
(Mental Health 3)       outpatient treatment. Inmates meeting this criterion will be
                        divided into four (4) categories. These categories may change
                        during each interaction with the inmate as their condition
                        warrants.
MH-3A                   Inmates in acute distress who may require substantial
(Mental Health 3A)      intervention in order to remain stable. Inmates classified as
                        SMI in ADC and/or the community will remain a Category
                        MH-3A (or MH-4 or MH-5 if in specialized mental health
                        program).
MH-3B                   Inmates who may need regular intervention but are generally
(Mental Health 3B)      stable and participate with psychiatric and psychological
                        interventions.
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TERM                     DEFINITION
MH-3C                    Inmates who need infrequent intervention and have adequate
(Mental Health 3C)       coping skills to manage their mental illness effectively and
                         independently. These inmates participate in psychiatric
                         interventions only.
MH-3D                    Inmates who have been recently taken off of psychotropic
(Mental Health 3D)       medications and require follow up to ensure stability over time.
MH-4                     Inmates who are admitted to a specialized mental health
(Mental Health 4)        program as identified in the Mental Health Technical Manual
                         outside of inpatient treatment areas.
MH-5                     Inmates with mental health needs who are admitted to an
(Mental Health 5)        inpatient psychiatric treatment program (Baker Ward and
                         Flamenco).
Prenatal screening tests GA/Preg, RPR, HIV, HEP, B & C, CBC, CMP (standardized
                         lab panel), Urine, Rubella, ABO RH & Antibody
Psychology Associate     A mental health clinician who has a master’s or doctoral-level
                         degree in a mental health discipline, but is not a licensed
                         psychologist.
Qualified Health Care    Physicians, Physician Assistants, Dentists, nurses, nurse
Professional (QHCP)      practitioners, dentists, mental health professionals, and others,
                         who by virtue of their education, credentials/license, and
                         experience are permitted by law to evaluate and care for
                         patients.
Regular Business Hours Monday through Friday, 0800 am -1600 pm or similar 8-hour
                         time frame; excluding weekends and holidays.
“Seeing a provider”/     Interaction between a patient and a Medical Provider, Mental
seen/ “seen by”          Health Provider or Mental Health Clinician that involves a
                         treatment and/or exchange of information in a confidential
                         setting. With respect to Mental Health staff, means an
                         encounter that takes place in a confidential setting outside the
                         prisoner’s cell, unless the prisoner refuses to exit his or her cell
                         for the encounter
SMI                      According to a licensed mental health clinician or provider,
                         possessing a qualifying mental health diagnosis as indicated on
                         the SMI Determination Form (#1103.13) as well as a severe
                         functional impairment directly relating to the mental illness.
                         All inmates determined to be SMI in the community shall also
                         be designated as SMI in ADC. All inmates designated SMI (as
                         defined in MHTM Chapter 2, Section 2.0) will be designated a
                         MH-3A, MH-4, or MH-5 based on their current program
                         placement.
SNO                      Special Needs Order
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TERM                  DEFINITION
Specialized Medical   Infirmary beds (IPC)
Housing
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HEALTH CARE OUTCOME MEASURES

Category     Measure Final Measure
             #
Staffing     1       Each ASPC will maintain, at a minimum, one RN onsite 24/7,
                     7 days/week.
Staffing     2       Each ASPC will maintain, at a minimum, one Medical
                     Provider (not to include a dentist) onsite during regular
                     business hour and on-call at all other times.
Staffing     3       Dental staffing will be maintained at current contract levels –
                     30 dentists.
Staffing     4       Infirmary staffing will be maintained with a minimum staffing
                     level of 2 RNs on duty in the infirmary at all times at Tucson
                     & Florence infirmaries and a minimum of one RN on duty in
                     the infirmary at all times at Perryville and Lewis infirmaries
Medical      5       Medical Records will be accurate, chronologically maintained,
Records              and scanned or filed in the patient’s chart within two business
                     days, with all documents filed in their designated location.
Medical      6       Provider orders will be noted daily with time, date, and name
Records              of person taking the orders off.
Medical      7       Medical record entries will be legible, and complete with time,
Records              name stamp and signature present.
Medical      8       Nursing protocols/NETS will be utilized by nurses for sick
Records              call.
Medical      9       SOAPE format will be utilized in the medical record for
Records              encounters.
Medical      10      Each patient’s medical record will include an up-to-date
Records              Master Problem list.
Pharmacy     11      Newly prescribed provider-ordered formulary medications
                     will be provided to the inmate within 2 business days after
                     prescribed, or on the same day, if prescribed STAT.
Pharmacy     12      Medical record will contain documentation of refusals or “no
                     shows.”
Pharmacy     13      Chronic care and psychotropic medication renewals will be
                     completed in a manner such that there is no interruption or
                     lapse in medication.
Pharmacy     14      Any refill for a chronic care or psychotropic medication that is
                     requested by a prisoner between three and seven business days
                     prior to the prescription running out will be completed in a
                     manner such that there is no interruption or lapse in
                     medication.
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Category      Measure Final Measure
              #
Pharmacy      15      Inmates who refuse prescribed medication (or no show) will
                      be counseled by a QHCP after three consecutive refusals.
Pharmacy      16      Perpetual inventory medication logs will be maintained on
                      each yard.
Pharmacy      17      The Medication Administration Record (MAR) will reflect
                      dose, frequency, start date and nurse's signature.
Pharmacy      18      Daily delivery manifests will be kept in binders located in
                      medication rooms on each yard/complex and will be reviewed
                      and initialed daily by an LPN or RN.
Pharmacy      19      Perpetual inventory medications will be signed off on the
                      Inmate's individual MAR.
Pharmacy      20      Medical AIMs entries are accurately completed within 3
                      business days from the entry in the medical record.
Pharmacy      21      Inmates who are paroled or released from ASPCs will receive
                      a 30-day supply of all medications currently prescribed by the
                      ADC contracted vendor.
Pharmacy      22      Non-formulary requests are reviewed and approved,
                      disapproved, or designated for an alternate treatment plan
                      (ATP) within two business days of the prescriber’s order.
Equipment     23      Automated External Defibrillators (AEDs) will be maintained
                      and readily accessible to Health Care Staff.
Equipment     24      Emergency medical response bags are checked daily,
                      inventoried monthly, and contain all required essential items.
Emergency     25      A first responder trained in Basic Life Support responds and
Response              adequately provides care within three minutes of an
                      emergency.
Quality       26      Responses to health care grievances will be completed within
Improvement           15 working days of receipt (by health care staff) of the
                      grievance.
Quality       27      Each ASPC facility will conduct monthly CQI meetings, in
Improvement           accordance with NCCHC Standard P-A-06
Quality       28      Every medical provider will undergo peer reviews annually
Improvement           with reviews and recommended actions documented.
Quality       29      Each ASPC facility Director of Nursing or designee will
Improvement           conduct and document annual clinical performance reviews of
                      nursing staff as recommended by NCCHC standard P-C-02.
Quality       30      The initial mortality review of an inmate’s death will be
Improvement           completed within 10 working days of death.
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Category    Measure Final Measure
            #
Quality     31      Mortality reviews will identify and refer deficiencies to
Improvement         appropriate managers and supervisors, including CQI
                    committee, and corrective action will be taken.
Quality     32      A final independent clinical mortality review will be
Improvement         completed by the Health Services Contract Monitoring Bureau
                    for all mortalities within 10 business days of receipt of the
                    medical examiner’s findings.
Intake      33      All inmates will receive a health screening by an LPN or RN
facility            within one day of arrival at the intake facility.
Intake      34      A physical examination including a history will be completed
facility            by a Medical Provider (not a dentist) by the end of the second
                    full day of an intake inmate's arrival at the intake facility.
Intersystem 35      All inmate medications (KOP and DOT) will be transferred
Transfers           with and provided to the inmate or otherwise provided at the
                    receiving prison without interruption.
Access to   36      A LPN or RN will screen HNRs within 24 hours of receipt.
care
Access to   37      Sick call inmates will be seen by an RN within 24 hours after
care                an HNR is received (or immediately if identified with an
                    emergent need, or on the same day if identified as having an
                    urgent need).
Access to   38      Vital signs, to include weight, will be checked and
care                documented in the medical record each time an inmate is seen
                    during sick call.
Access to   39      Routine provider referrals will be addressed by a Medical
care                Provider and referrals requiring a scheduled provider
                    appointments will be seen within fourteen calendar days of the
                    referral.
Access to   40      Urgent provider referrals are seen by a Medical Provider
care                within 24 hours of the referral.
Access to   41      Emergent provider referrals are seen immediately by a
care                Medical Provider.
Access to   42      A follow-up sick call encounter will occur within the time
care                frame specified by the Medical or Mental Health Provider.
Access to   43      Inmates returning from an inpatient hospital stay or ER
care                transport will be returned to the medical unit and be assessed
                    by a RN or LPN on duty there.
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Category       Measure Final Measure
               #
Access to      44      Inmates returning from an inpatient hospital stay or ER
care                   transport with discharge recommendations from the hospital
                       shall have the hospital’s treatment recommendations reviewed
                       and acted upon by a medical provider within 24 hours.
Diagnostic     45      On-site diagnostic services will be provided the same day if
Services               ordered STAT or urgent, or within 14 calendar days if routine
Diagnostic     46      A Medical Provider will review the diagnostic report,
Services               including pathology reports, and act upon reports with
                       abnormal values within five calendar days of receiving the
                       report at the prison.
Diagnostic     47      A Medical Provider will communicate the results of the
Services               diagnostic study to the inmate upon request and within seven
                       calendar days of the date of the request.
Specialty      48      Documentation, including the reason(s) for the denial, of
care                   Utilization Management denials of requests for specialty
                       services will be sent to the requesting Provider in writing
                       within fourteen calendar days, and placed in the patient's
                       medical record.
Specialty      49      Patients for whom a provider’s request for specialty services is
care                   denied are told of the denial by a Medical Provider at the
                       patient’s next scheduled appointment, no more than 30 days
                       after the denial, and the Provider documents in the patient’s
                       medical record the Provider’s follow-up to the denial.
Specialty      50      Urgent specialty consultations and urgent specialty diagnostic
care                   services will be scheduled and completed within 30 calendar
                       days of the consultation being requested by the provider.
Specialty      51      Routine specialty consultations will be scheduled and
care                   completed within 60 calendar days of the consultation being
                       requested by the provider.
Specialty      52      Specialty consultation reports will be reviewed and acted on
care                   by a Provider within seven calendar days of receiving the
                       report.
Chronic care   53      Treatment plans will be developed and documented in the
                       medical record by a provider within 30 calendar days of
                       identification that the inmate has a chronic disease.
Chronic care   54      Chronic disease inmates will be seen by the provider as
                       specified in the inmate's treatment plan, no less than every 180
                       days unless the provider documents a reason why a longer
                       time frame can be in place.
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Category       Measure Final Measure
               #
Chronic care   55      Disease management guidelines will be implemented for
                       chronic diseases.
Chronic care   56      Inmates with a chronic disease will be provided education
                       about their condition/disease which will be documented in the
                       medical record.
Prenatal       57      A Medical Provider will order prenatal vitamins and diet for a
Services               pregnant inmate at the inmate's initial intake physical
                       examination.
Prenatal       58      Results of an inmate's prenatal screening tests will be
Services               documented in the medical record.
Preventative   59      Inmates will be screened for TB on an annual basis.
Services
Preventative   60        All female inmates ages 21 to 65 will be offered a Pap smear
Services                 at the inmate’s initial intake physical examination.
Preventative   61        All female inmates ages 21 to 65 will be offered a Pap smear ,
Services                 every 36 months after initial intake, unless more frequent
                         screening is clinically recommended.
Preventative   62        All prisoners are screened for tuberculosis upon intake.
Services
Infirmary      63        In an IPC, an initial health assessment will be completed by a
Care                     Registered Nurse on the date of admission.
Infirmary      64        In an IPC, a Medical Provider evaluation and plan will occur
Care                     within the next business day after admission.
Infirmary      65        In an IPC, a written history and physical examination will be
Care                     completed by a medical provider within 72 hours of
                         admission.
Infirmary      66        In an IPC, a Medical Provider encounters will occur at a
Care                     minimum every 72 hours.
Infirmary      67        In an IPC, Registered nurses will conduct and document an
Care                     assessment at least once every shift. Graveyard shift
                         assessments can be welfare checks.
Infirmary      68        In an IPC, Inmate health records will include admission orders
Care                     and documentation of care and treatment given.
Infirmary      69        In an IPC, nursing care plans will be reviewed weekly
Care                     documented with a date and signature.
Infirmary      70        All IPC patients have properly working call buttons, and if
Care                     not, health care staff perform and document 30-minute patient
                         welfare checks.
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Category    Measure Final Measure
            #
Medical     71      Inmates with diagnosed and documented diseases or
Diets               conditions that necessitate a special diet will be provided the
                    diet, if clinically indicated. When prescribing the special diet,
                    the provider will include the type of diet, duration for which it
                    is to be provided, and any special instructions.
Medical     72      Inmates who refuse prescribed diets for more than 3
Diets               consecutive days will receive follow-up nutritional counseling
                    by a QHCP.
Mental      73      All MH-3 minor prisoners shall be seen by a licensed mental
Health              health clinician a minimum of every 30 days.
Mental      74      All female prisoners shall be seen by a licensed mental health
Health              clinician within five working days of return from a hospital
                    post-partum.
Mental      75      A mental health assessment of a prisoner during initial intake
Health              shall be completed by mental health staff by the end of the
                    second full day after the prisoner’s arrival into ADC.
Mental      76      If the initial mental health assessment of a prisoner during
Health              initial intake is not performed by licensed mental health staff,
                    the prisoner shall be seen by a mental health clinician within
                    fourteen days of his or her arrival into ADC.
Mental      77      Mental health treatment plans shall be updated a minimum of
Health              every 90 days for MH-3A, MH-4, and MH-5 prisoners, and a
                    minimum of every 12 months for all other MH-3 prisoners.
Mental      78      All mental health treatment plan updates shall be done after a
Health              face-to-face clinical encounter between the prisoner and the
                    mental health provider or mental health clinician.
Mental      79      If a prisoner’s mental health treatment plan includes
Health              psychotropic medication, the mental health provider shall
                    indicate in each progress note that he or she has reviewed the
                    treatment plan.
Mental      80      MH-3A prisoners shall be seen a minimum of every 30 days
Health              by a mental health clinician.
Mental      81      MH-3A prisoners who are prescribed psychotropic
Health              medications shall be seen a minimum of every 90 days by a
                    mental health provider.
Mental      82      MH-3B prisoners shall be seen a minimum of every 90 days
Health              by a mental health clinician.
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Category    Measure Final Measure
            #
Mental      83      MH-3B prisoners who are prescribed psychotropic
Health              medications shall be seen a minimum of every 180 days by a
                    mental health provider. MH-3B prisoners who are prescribed
                    psychotropic medications for psychotic disorders, bipolar
                    disorder, or major depression shall be seen by a mental health
                    provider a minimum of every 90 days.
Mental      84      MH-3C prisoners shall be seen a minimum of every 180 days
Health              by a mental health provider.
Mental      85      MH-3D prisoners shall be seen by a mental health provider
Health              within 30 days of discontinuing medications.
Mental      86      MH-3D prisoners shall be seen a minimum of every 90 days
Health              by a mental health clinician for a minimum of six months after
                    discontinuing medication.
Mental      87      MH-4 prisoners shall be seen by a mental health clinician for a
Health              1:1 session a minimum of every 30 days.
Mental      88      MH-4 prisoners who are prescribed psychotropic medications
Health              shall be seen by a mental health provider a minimum of every
                    90 days.
Mental      89      MH-5 prisoners shall be seen by a mental health clinician for a
Health              1:1 session a minimum of every seven days.
Mental      90      MH-5 prisoners who are prescribed psychotropic medications,
Health              shall be seen by a mental health provider a minimum of every
                    30 days.
Mental      91      MH-5 prisoners who are actively psychotic or actively suicidal
Health              shall be seen by a mental health clinician or mental health
                    provider daily.
Mental      92      MH-3 and above prisoners who are housed in maximum
Health              custody shall be seen by a mental health clinician for a 1:1 or
                    group session a minimum of every 30 days.
Mental      93      Mental health staff (not to include LPNs) shall make weekly
Health              rounds on all MH-3 and above prisoners who are housed in
                    maximum custody.
Mental      94      All prisoners on a suicide or mental health watch shall be seen
Health              daily by a licensed mental health clinician or, on weekends or
                    holidays, by a registered nurse.
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Category    Measure Final Measure
            #
Mental      95      Only licensed mental health staff may remove a prisoner from
Health              a suicide or mental health watch. Any prisoner discontinued
                    from a suicide or mental health watch shall be seen by a
                    mental health provider, mental health clinician, or psychiatric
                    registered nurse between 24 and 72 hours after
                    discontinuation, between seven and ten days after
                    discontinuation, and between 21 and 24 days after
                    discontinuation of the watch.
Mental      96      A reentry/discharge plan shall be established no later than 30
Health              days prior to release from ADC for all prisoners who are MH-
                    3 or above.
Mental      97      A mental health provider treating a prisoner via telepsychiatry
Health              shall be provided, in advance of the telepsychiatry session, the
                    prisoner’s intake assessment, most recent mental health
                    treatment plan, laboratory reports (if applicable), physician
                    orders, problem list, and progress notes from the prisoner’s
                    two most recent contacts with a mental health provider.
Mental      98      Mental health HNRs shall be responded to within the
Health              timeframes set forth in the Mental Health Technical Manual
                    (MHTM) (rev. 4/18/14), Chapter 2, Section 5.0.
Mental      99      Peer reviews shall be conducted as set forth in the MHTM
Health              (rev. 4/18/14), Chapter 1, Section 3.0.
Dental      100     Prisoners on the routine dental care list will not be removed
                    from the list if they are seen for urgent care or pain
                    appointments that do not resolve their routine care issues or
                    needs.
Dental      101     Dental assistants will take inmate histories and vital signs and
                    dental radiographs (as ordered) by the Dentist.
Dental      102     Routine dental care wait times will be no more than 90 days
                    from the date the HNR was received.
Dental      103     Urgent dental care wait times, as determined by the contracted
                    vendor, shall be no more than 72 hours from the date the HNR
                    was received.
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 Category   Measure #             Final Measure                                 Protocol                    Source of Records /
                                                                                                                   Review
Staffing    1           Each ASPC will maintain, at a          Monthly staffing report and Weekly          Contracted Vendor.
                        minimum, one RN onsite 24/7, 7         staffing schedule. Any changes to the
                        days/week.                             weekly staffing schedule will be
                                                               documented and provided to monitors.
Staffing    2           Each ASPC will maintain, at a          Monthly staffing report and Weekly          Contracted Vendor.
                        minimum, one Medical Provider          staffing schedule. Any changes to the
                        (not to include a dentist) onsite      weekly staffing schedule will be
                        during regular business hour and       documented and provided to monitors.
                        on-call at all other times.
Staffing    3           Dental staffing will be maintained     Monthly staffing report and Weekly          Contracted Vendor.
                        at current contract levels – 30        staffing schedule.
                        dentists.
Staffing    4           Infirmary staffing will be             Monthly staffing report and Weekly          Contracted Vendor.
                        maintained with a minimum              staffing schedule. Any changes to the
                        staffing level of 2 RNs on duty in     weekly staffing schedule will be
                        the infirmary at all times at Tucson   documented and provided to monitors.
                        & Florence infirmaries and a
                        minimum of one RN on duty in the
                        infirmary at all times at Perryville
                        and Lewis infirmaries
Medical     5           Medical Records will be accurate,      At each yard, a minimum 10 records per      Scheduled Nursing and
Records                 chronologically maintained, and        month are randomly selected, if qualified   Provider lines from the
                        scanned or filed in the patient’s      under this Performance Measure.             preceding 30 days.
                        chart within two business days,
                        with all documents filed in their
                        designated location.
Medical     6           Provider orders will be noted daily    At each yard, a minimum 10 records per      Scheduled Provider lines
Records                 with time, date, and name of person    month are randomly selected, if qualified   from the preceding 30
                        taking the orders off.                 under this Performance Measure.             days.
Medical     7           Medical record entries will be         At each yard, a minimum 10 records per      Scheduled Nursing and
Records                 legible, and complete with time,       month are randomly selected, if qualified   Provider lines from the
                        name stamp and signature present.      under this Performance Measure.             preceding 30 days.
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 Category   Measure #             Final Measure                                Protocol                    Source of Records /
                                                                                                                  Review
Medical     8           Nursing protocols/NETS will be         At each yard, a minimum 10 records per    Scheduled Nurse lines
Records                 utilized by nurses for sick call.      month are randomly selected, if qualified from the preceding 30
                                                               under this Performance Measure.           days.
Medical     9           SOAPE format will be utilized in       At each yard, a minimum 10 records per    Scheduled Nursing and
Records                 the medical record for encounters.     month are randomly selected, if qualified Provider lines from the
                                                               under this Performance Measure.           preceding 30 days.
Medical     10          Each patient's medical record will     At each yard, a minimum 10 records per    Scheduled Provider lines
Records                 include an up-to-date Master           month are randomly selected, if qualified from the preceding 30
                        Problem list.                          under this Performance Measure.           days.
Pharmacy    11          Newly prescribed provider-ordered      At each yard, a minimum 10 records per    Contracted vendor to
                        formulary medications will be          month are randomly selected, if qualified provide list of NF
                        provided to the inmate within 2        under this Performance Measure.           medications ordered
                        business days after prescribed, or     Contracted vendor to provide list of NF   from the preceding 30
                        on the same day, if prescribed         medications ordered from the preceding 30 days, and MAR's and
                        STAT.                                  days. Follow up and confirmation of       eOmis.
                                                               receipt of medications will be made
                                                               through review of MAR's and eOmis.
Pharmacy    12          Medical record will contain            At each yard, a minimum 10 records per    MAR's and eOmis from
                        documentation of refusals or “no       month are randomly selected, if qualified preceding 30 days.
                        shows.”                                under this Performance Measure.
Pharmacy    13          Chronic care and psychotropic          At each yard, a minimum 10 records per    Contracted vendor
                        medication renewals will be            month are randomly selected, if qualified Medication Expiration
                        completed in a manner such that        under this Performance Measure.           Reports and medication
                        there is no interruption or lapse in   Contracted vendor Medication Expiration   manifests from
                        medication.                            Reports and medication manifests from     preceding 30 days, and
                                                               preceding 30 days will be reviewed, and   MAR's.
                                                               corresponding MAR's will be reviewed to
                                                               determine any lapses in medication.
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 Category   Measure #             Final Measure                                 Protocol                      Source of Records /
                                                                                                                     Review
Pharmacy    14          Any refill for a chronic care or       At each yard, a minimum 10 records per       Contracted vendor HNR
                        psychotropic medication that is        month are randomly selected, if qualified    logs from preceding 30
                        requested by a prisoner between        under this Performance Measure.              days and MAR's.
                        three and seven business days prior    Contracted vendor HNR logs from
                        to the prescription running out will   preceding 30 days will be reviewed to
                        be completed in a manner such that     identify medication refills, and
                        there is no interruption or lapse in   corresponding MAR's will be reviewed to
                        medication.                            determine any lapses in medication.
Pharmacy    15          Inmates who refuse prescribed          At each yard, a minimum 10 records per       MAR's from preceding
                        medication (or no show) will be        month are randomly selected, if qualified    30 days will be reviewed
                        counseled by a QHCP after three        under this Performance Measure.              for refusals and no
                        consecutive refusals.                                                               shows, and medical
                                                                                                            records will be reviewed
                                                                                                            for follow up
                                                                                                            counseling.
Pharmacy    16          Perpetual inventory medication         Review of Perpetual Inventory Logs are to    Perpetual Inventory
                        logs will be maintained on each        be confirmed in use on each yard.            Logs from the preceding
                        yard.                                                                               30 days.
Pharmacy    17          The Medication Administration          At each yard, a minimum 10 records per       MAR's from the
                        Record (MAR) will reflect dose,        month are randomly selected, if qualified    preceding 30 days.
                        frequency, start date and nurse's      under this Performance Measure.
                        signature.
Pharmacy    18          Daily delivery manifests will be       Review of daily delivery manifests will be   Daily manifests from the
                        kept in binders located in             reviewed for appropriate signatures on       preceding 30 days.
                        medication rooms on each               each yard/complex.
                        yard/complex and will be reviewed
                        and initialed daily by an LPN or
                        RN.
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 Category   Measure #             Final Measure                               Protocol                       Source of Records /
                                                                                                                    Review
Pharmacy    19          Perpetual inventory medications       At each yard, a minimum 10 records per       Perpetual Inventory
                        will be signed off on the Inmate's    month are randomly selected, if qualified    Logs and MAR's from
                        individual MAR.                       under this Performance Measure.              the preceding 30 days.
                                                              Medications documented in the perpetual
                                                              inventory lists for individual patient use
                                                              during the preceding 30 days will be
                                                              followed up for appropriate documentation
                                                              in the individual inmate's MAR.
Pharmacy    20          Medical AIMs entries are              At each yard, a minimum 10 records per       Scheduled Provider lines
                        accurately completed within 3         month are randomly selected, if qualified    from the preceding 30
                        business days from the entry in the   under this Performance Measure. Any          days.
                        medical record.                       SNO's identified in the Provider's notes
                                                              will be confirmed as a timely AIMS entry.
Pharmacy    21          Inmates who are paroled or            At each facility, a minimum 10 records per   The Released Inmate
                        released from ASPCs will receive a    month are randomly selected, if qualified    Medication report from
                        30-day supply of all medications      under this Performance Measure. The          the contracted vendor
                        currently prescribed by the ADC       Released Inmate Medication report from       from the preceding 30
                        contracted vendor.                    the contracted vendor from the preceding     days and an ADC report
                                                              30 days will be compared to an ADC           with inmate signature
                                                              report with inmate signature documenting     documenting receipt of
                                                              receipt of appropriate medications.          appropriate medications.
Pharmacy    22          Non-formulary requests are            At each facility, a minimum 10 records per   Non-formulary request /
                        reviewed and approved,                month are randomly selected, if qualified    tracking log from the
                        disapproved, or designated for an     under this Performance Measure. Non-         preceding 30 days.
                        alternate treatment plan (ATP)        formulary request / tracking log from the
                        within two business days of the       preceding 30 days will be provided by the
                        prescriber’s order.                   contracted vendor.
Equipment   23          Automated External Defibrillators     At each facility, a monthly physical         All AED's and Checklist
                        (AEDs) will be maintained and         inspection of all AED's will occur.          Binder.
                        readily accessible to Health Care
                        Staff.
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 Category   Measure #             Final Measure                              Protocol                      Source of Records /
                                                                                                                Review
Equipment   24          Emergency medical response bags     At each facility, a monthly physical         All Emergency response
                        are checked daily, inventoried      inspection of all medical response bags      bags.
                        monthly, and contain all required   will occur. Contents of bag will match
                        essential items.                    inventory list.
Emergency   25          A first responder trained in Basic  At each facility, a minimum 10 records per   Appropriate and
Response                Life Support responds and           month are randomly selected, if qualified    pertinent SIR's.
                        adequately provides care within     under this Performance Measure. SIR's
                        three minutes of an emergency.      will be reviewed and compared with
                                                            medical chart documenting the emergency
                                                            response
Quality     26          Responses to health care grievances At each facility, a minimum of 10            Grievance logs
Improvement             will be completed within 15         grievances per month are randomly            maintained by security
                        working days of receipt (by health  selected from the grievance logs.            staff (COIII-IV) at each
                        care staff) of the grievance.       Grievances received during the preceding     yard.
                                                            30 days will be reviewed for timeliness of
                                                            responses.
Quality     27          Each ASPC facility will conduct     Monthly CQI meeting minutes. Monthly         Monthly CQI minutes.
Improvement             monthly CQI meetings, in            CQI minutes will be provided by the
                        accordance with NCCHC Standard contracted vendor.
                        P-A-06
Quality     28          Every medical provider will         Annual peer reviews will be documented       Annual peer review.
Improvement             undergo peer reviews annually with for every medical provider who has been
                        reviews and recommended actions employed for at least one year.
                        documented.                         Documentation of required annual peer
                                                            reviews will be provided by the contracted
                                                            vendor.
Quality     29          Each ASPC facility Director of      Annual clinical performance reviews will     Annual clinical
Improvement             Nursing or designee will conduct    be documented for every nurse who has        performance review.
                        and document annual clinical        been employed for at least one year.
                        performance reviews of nursing      Documentation of required annual clinical
                        staff as recommended by NCCHC       performance reviews will be provided by
                        standard P-C-02.                    the contracted vendor.
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  Category   Measure #             Final Measure                                   Protocol                        Source of Records /
                                                                                                                         Review
Quality     30           The initial mortality review of an      At each facility, all deaths that occurred in   Mortality reviews for
Improvement              inmate’s death will be completed        the preceding month are reviewed. Dates         inmate deaths in the
                         within 10 working days of death.        of completion of stages in the mortality        preceding month.
                                                                 review will determine compliance.
Quality     31           Mortality reviews will identify and     At each facility, all mortalities from the      Monthly CQI minutes.
Improvement              refer deficiencies to appropriate       preceding month will be identified, and
                         managers and supervisors,               deficiencies identified in any mortalities
                         including CQI committee, and            where the final review has been completed
                         corrective action will be taken.        will be documented in the minutes.
                                                                 Monthly CQI minutes will be provided by
                                                                 the contracted vendor.
Quality     32           A final independent clinical            All final mortality reviews completed in        Health Services Contract
Improvement              mortality review will be completed      the previous month are reviewed. Dates of       Monitoring Bureau
                         by the Health Services Contract         completion of stages in the mortality           signed and dated
                         Monitoring Bureau for all               review will determine compliance.               mortality review.
                         mortalities within 10 business days
                         of receipt of the medical
                         examiner’s findings.
Intake       33          All inmates will receive a health       Minimum 10 records per month randomly           Medical records from
facility                 screening by an LPN or RN within        selected per reception center. Records          inmates received during
                         one day of arrival at the intake        from reception center at ASPC Phoenix           the preceding 30 days.
                         facility.                               (male), ASPC Perryville (female), and if
                                                                 applicable, ASPC Tucson (minor males).
Intake       34          A physical examination including a      Minimum 10 records per month randomly           Medical records from
facility                 history will be completed by a          selected per reception center. Records          inmates received during
                         Medical Provider (not a dentist) by     from reception center at ASPC Phoenix           the preceding 30 days.
                         the end of the second full day of an    (male), ASPC Perryville (female), and if
                         intake inmate's arrival at the intake   applicable, ASPC Tucson (minor males).
                         facility.
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 Category     Measure #             Final Measure                                Protocol                       Source of Records /
                                                                                                                       Review
Intersystem   35          All inmate medications (KOP and      At each yard, a minimum 10 records per         Transfer logs (arrival
Transfers                 DOT) will be transferred with and    month are randomly selected, if qualified      departure) at each
                          provided to the inmate or otherwise under this Performance Measure. Transfer facility, and transfer
                          provided at the receiving prison     logs (arrival departure) at each facility, and screening form in the
                          without interruption.                transfer screening form in the medical         medical record from the
                                                               record will be reviewed for compliance.        preceding 30 days.
Access to     36          A LPN or RN will screen HNRs         At each yard, a minimum 10 records per         HNR log from the
care                      within 24 hours of receipt.          month are randomly selected, if qualified      preceding 30 days.
                                                               under this Performance Measure. HNR
                                                               date and time stamps will be reviewed for
                                                               compliance.
Access to     37          Sick call inmates will be seen by an At each yard, a minimum 10 records per         Nurse line and eOmis
care                      RN within 24 hours after an HNR      month are randomly selected, if qualified      from the preceding 30
                          is received (or immediately if       under this Performance Measure.                days.
                          identified with an emergent need,    Appropriate handling and timeliness will
                          or on the same day if identified as  be determined upon review.
                          having an urgent need).
Access to     38          Vital signs, to include weight, will At each yard, a minimum 10 records per         Nurse line and eOmis
care                      be checked and documented in the month are randomly selected, if qualified          from the preceding 30
                          medical record each time an inmate under this Performance Measure.                  days.
                          is seen during sick call.
Access to     39          Routine provider referrals will be   At each yard, a minimum 10 records per         Nurse line, Provider line,
care                      addressed by a Medical Provider      month are randomly selected, if qualified      and eOmis from the
                          and referrals requiring a scheduled under this Performance Measure.                 preceding 30 days.
                          provider appointment will be seen    Appropriate handling and timeliness will
                          within fourteen calendar days of the be determined upon review.
                          referral.
Access to     40          Urgent provider referrals are seen   At each yard, a minimum 10 records per         Nurse line, Provider line,
care                      by a Medical Provider within 24      month are randomly selected, if qualified      and eOmis from the
                          hours of the referral.               under this Performance Measure.                preceding 30 days.
                                                               Appropriate handling and timeliness will
                                                               be determined upon review.
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 Category    Measure #             Final Measure                                 Protocol                         Source of Records /
                                                                                                                         Review
Access to    41          Emergent provider referrals are       At each yard, a minimum 10 records per           Nurse line, Provider line,
care                     seen immediately by a Medical         month are randomly selected, if qualified        and eOmis from the
                         Provider.                             under this Performance Measure.                  preceding 30 days.
                                                               Appropriate handling and timeliness will
                                                               be determined upon review.
Access to    42          A follow-up sick call encounter       At each yard, a minimum 10 records per           Nurse line, Provider line,
care                     will occur within the time frame      month are randomly selected, if qualified        and eOmis from the
                         specified by the Medical or Mental    under this Performance Measure.                  preceding 30 days.
                         Health Provider.                      Appropriate handling and timeliness will
                                                               be determined upon review.
Access to    43          Inmates returning from an inpatient   At each yard, a minimum 10 records per           Field Briefing Report
care                     hospital stay or ER transport will    month are randomly selected, if qualified        (ADC), hospital report,
                         be returned to the medical unit and   under this Performance Measure. Inmates          and eOmis.
                         be assessed by a RN or LPN on         identified in either the field briefing report
                         duty there.                           or the hospital report will be reviewed for
                                                               documentation upon return from the
                                                               transport.
Access to    44          Inmates returning from an inpatient   At each yard, a minimum 10 records per           Field Briefing Report
care                     hospital stay or ER transport with    month are randomly selected, if qualified        (ADC), hospital report,
                         discharge recommendations from        under this Performance Measure. Inmates          and eOmis.
                         the hospital shall have the           identified in either the field briefing report
                         hospital’s treatment                  or the hospital report will be reviewed for
                         recommendations reviewed and          documentation upon return from the
                         acted upon by a medical provider      transport. Physician
                         within 24 hours.                      acknowledgement/action will be reviewed
                                                               for timeliness.
Diagnostic   45          On-site diagnostic services will be   At each yard, a minimum 10 records per           Radiology, vision, lab
Services                 provided the same day if ordered      month are randomly selected, if qualified        lines appointments
                         STAT or urgent, or within 14          under this Performance Measure.                  within the preceding 30
                         calendar days if routine              Appropriate handling and timeliness will         days.
                                                               be determined upon review.
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 Category    Measure #             Final Measure                                 Protocol                      Source of Records /
                                                                                                                     Review
Diagnostic   46          A Medical Provider will review the     At each yard, a minimum 10 records per      Radiology, vision, lab
Services                 diagnostic report, including           month are randomly selected, if qualified   lines appointments
                         pathology reports, and act upon        under this Performance Measure.             within the preceding 30
                         reports with abnormal values           Appropriate handling and timeliness will    days and eOmis records.
                         within five calendar days of           be determined upon review.
                         receiving the report at the prison.
Diagnostic   47          A Medical Provider will                At each yard, a minimum 10 records per      HNR log from the
Services                 communicate the results of the         month are randomly selected, if qualified   preceding 30 days,
                         diagnostic study to the inmate upon    under this Performance Measure.             Provider line, eOmis.
                         request and within seven calendar      Appropriate handling and timeliness will
                         days of the date of the request.       be determined upon review. Appropriate
                                                                HNR's will be tracked for completion.
Specialty    48          Documentation, including the           At each yard, a minimum 10 records per      ORC and eOmis.
care                     reason(s) for the denial, of           month are randomly selected, if qualified
                         Utilization Management denials of      under this Performance Measure.
                         requests for specialty services will   Appropriate handling and timeliness will
                         be sent to the requesting Provider     be determined upon review. ORC requests
                         in writing within fourteen calendar    are documented in ORC, and will be
                         days, and placed in the patient's      followed for appropriate handling and
                         medical record.                        documentation.
Specialty    49          Patients for whom a provider’s         At each yard, a minimum 10 records per      ORC, eOmis, and
care                     request for specialty services is      month are randomly selected, if qualified   provider lines.
                         denied are told of the denial by a     under this Performance Measure.
                         Medical Provider at the patient’s      Appropriate handling and timeliness will
                         next scheduled appointment, no         be determined upon review. ORC requests
                         more than 30 days after the denial,    will be followed for appropriate handling
                         and the Provider documents in the      and documentation.
                         patient’s medical record the
                         Provider’s follow-up to the denial.
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 Category      Measure #             Final Measure                              Protocol                      Source of Records /
                                                                                                                    Review
Specialty      50          Urgent specialty consultations and   At each yard, a minimum 10 records per      ORC, eOmis, and
care                       urgent specialty diagnostic services month are randomly selected, if qualified   provider lines.
                           will be scheduled and completed      under this Performance Measure.
                           within 30 calendar days of the       Appropriate handling and timeliness will
                           consultation being requested by the  be determined upon review. ORC requests
                           provider.                            are documented in ORC, and will be
                                                                followed for appropriate handling and
                                                                documentation.
Specialty      51          Routine specialty consultations will At each yard, a minimum 10 records per      ORC, eOmis, and
care                       be scheduled and completed within month are randomly selected, if qualified      provider lines.
                           60 calendar days of the consultation under this Performance Measure.
                           being requested by the provider.     Appropriate handling and timeliness will
                                                                be determined upon review. ORC requests
                                                                are documented in ORC, and will be
                                                                followed for appropriate handling and
                                                                documentation.
Specialty      52          Specialty consultation reports will  At each yard, a minimum 10 records per      ORC, eOmis, and
care                       be reviewed and acted on by a        month are randomly selected, if qualified   provider lines.
                           Provider within seven calendar       under this Performance Measure.
                           days of receiving the report.        Appropriate handling and timeliness will
                                                                be determined upon review. ORC requests
                                                                are documented in ORC, and will be
                                                                followed for appropriate handling and
                                                                documentation.
Chronic care   53          Treatment plans will be developed At each yard, a minimum 10 records per         Chronic care logs and
                           and documented in the medical        month are randomly selected, if qualified   eOmis.
                           record by a provider within 30       under this Performance Measure.
                           calendar days of identification that Appropriate handling and timeliness will
                           the inmate has a chronic disease.    be determined upon review. Chronic care
                                                                logs and forms will be used in the review
                                                                process.
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 Category      Measure #             Final Measure                                 Protocol                     Source of Records /
                                                                                                                      Review
Chronic care   54          Chronic disease inmates will be        At each yard, a minimum 10 records per      Chronic care logs and
                           seen by the provider as specified in   month are randomly selected, if qualified   eOmis.
                           the inmate's treatment plan, no less   under this Performance Measure.
                           than every 180 days unless the         Appropriate handling and timeliness will
                           provider documents a reason why a      be determined upon review. Chronic care
                           longer time frame can be in place.     logs and forms will be used in the review
                                                                  process.
Chronic care   55          Disease management guidelines          At each yard, a minimum 10 records per      Chronic care logs and
                           will be implemented for chronic        month are randomly selected, if qualified   eOmis.
                           diseases.                              under this Performance Measure.
                                                                  Appropriate handling and timeliness will
                                                                  be determined upon review. Chronic care
                                                                  logs and forms will be used in the review
                                                                  process.
Chronic care   56          Inmates with a chronic disease will    At each yard, a minimum 10 records per      Chronic care logs and
                           be provided education about their      month are randomly selected, if qualified   eOmis.
                           condition/disease which will be        under this Performance Measure.
                           documented in the medical record.      Appropriate handling and timeliness will
                                                                  be determined upon review. Chronic care
                                                                  logs and forms will be used in the review
                                                                  process.
Prenatal       57          A Medical Provider will order          This is specific to Perryville intake       Pregnant inmate list
Services                   prenatal vitamins and diet for a       inmates. At the facility, all pregnant      from Perryville within
                           pregnant inmate at the inmate's        prisoners’ files from all intakes in the    the preceding 30 days,
                           initial intake physical examination.   previous month are reviewed to confirm      Intake arrival logs and
                                                                  that vitamins are ordered.                  eOmis.
Prenatal       58          Results of an inmate's prenatal        This is specific to Perryville intake       Intake arrival logs and
Services                   screening tests will be documented     inmates. At the facility, all pregnant      eOmis within the
                           in the medical record.                 prisoners’ files from all intakes in the    preceding 30 days.
                                                                  previous month are reviewed to confirm
                                                                  that the tests were conducted.
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 Category      Measure #             Final Measure                              Protocol                       Source of Records /
                                                                                                                    Review
Preventative   59          Inmates will be screened for TB on   At each yard, a minimum 10 records per       eOmis.
Services                   an annual basis.                     month are randomly selected, if qualified
                                                                under this Performance Measure. Review
                                                                for PPD history or appropriate signs and
                                                                symptom follow up will be reviewed to
                                                                determine timeliness.
Preventative   60          All female inmates ages 21 to 65     This is specific to Perryville. At the       eOmis.
Services                   will be offered a Pap smear at the   facility, 10 records per month are
                           inmate's initial intake physical     randomly selected from all intakes in the
                           examination, and every 36 months     previous month.
                           thereafter unless more frequent
                           screening is clinically
                           recommended.
Preventative   61          All female inmates ages 21 to 65     At each yard, 10 records per month are       Medical records.
Services                   will be offered a Pap smear every    randomly selected to review the frequency
                           36 months after initial intake,      with which subsequent Pap smears have
                           unless more frequent screening is    been conducted. Chart review will
                           clinically recommended.              determine compliance.
Preventative   62          All prisoners are screened for       Minimum 10 records per month randomly        Medical records from
Services                   tuberculosis upon intake.            selected from each reception center.         inmates received at
                                                                Records from reception center at ASPC        intake during the
                                                                Phoenix (male), ASPC Tucson (minor           preceding 30 days.
                                                                males) and ASPC Perryville (female).
                                                                Chart review will determine compliance.
Infirmary      63          In an IPC, an initial health         This is specific to Perryville, Florence,    IPC Census and eOmis.
Care                       assessment will be completed by a    Tucson, and Lewis IPC inmates. At each
                           Registered Nurse on the date of      IPC, 10 records per month are randomly
                           admission.                           selected for documentation and timeliness.
Infirmary      64          In an IPC, a Medical Provider        This is specific to Perryville, Florence,    IPC Census and eOmis.
Care                       evaluation and plan will occur       Tucson, and Lewis IPC inmates. At each
                           within the next business day after   IPC, 10 records per month are randomly
                           admission.                           selected for documentation and timeliness.
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 Category   Measure #             Final Measure                               Protocol                       Source of Records /
                                                                                                                  Review
Infirmary   65          In an IPC, a written history and      This is specific to Perryville, Florence,    IPC Census and eOmis.
Care                    physical examination will be          Tucson, and Lewis IPC inmates. At each
                        completed by a medical provider       IPC, 10 records per month are randomly
                        within 72 hours of admission.         selected for documentation and timeliness.
Infirmary   66          In an IPC, a Medical Provider         This is specific to Perryville, Florence,    IPC Census and eOmis.
Care                    encounters will occur at a minimum    Tucson, and Lewis IPC inmates. At each
                        every 72 hours.                       IPC, 10 records per month are randomly
                                                              selected for documentation and timeliness.
Infirmary   67          In an IPC, Registered nurses will     This is specific to Perryville, Florence,    IPC Census and eOmis.
Care                    conduct and document an               Tucson, and Lewis IPC inmates. At each
                        assessment at least once every shift. IPC, 10 records per month are randomly
                        Graveyard shift assessments can be selected for documentation and timeliness.
                        welfare checks.
Infirmary   68          In an IPC, Inmate health records      This is specific to Perryville, Florence,    IPC Census and eOmis.
Care                    will include admission orders and     Tucson, and Lewis IPC inmates. At each
                        documentation of care and             IPC, 10 records per month are randomly
                        treatment given.                      selected for documentation and timeliness.
Infirmary   69          In an IPC, nursing care plans will    This is specific to Perryville, Florence,    IPC Census and eOmis.
Care                    be reviewed weekly documented         Tucson, and Lewis IPC inmates. At each
                        with a date and signature.            IPC, 10 records per month are randomly
                                                              selected for documentation and timeliness.
Infirmary   70          All IPC patients have properly        This is specific to Perryville, Florence,    IPC Census and eOmis.
Care                    working call buttons, and if not,     Tucson, and Lewis IPC inmates. At each
                        health care staff perform and         IPC, 10 records per month are randomly
                        document 30-minute patient            selected for documentation and timeliness.
                        welfare checks.                       Monitor will walk through IPC once a
                                                              month to confirm that all call buttons are
                                                              working, and if the monitor discovers any
                                                              nonfunctioning call buttons, will also
                                                              review the medical records of the patient
                                                              housed in that room. Patient welfare
                                                              checks will be shown when required
                                                              through a separate log.
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 Category   Measure #             Final Measure                                 Protocol                       Source of Records /
                                                                                                                     Review
Medical     71          Inmates with diagnosed and             At each yard, a minimum 10 records per        Diet Roster and eOmis.
Diets                   documented diseases or conditions      month are randomly selected, if qualified
                        that necessitate a special diet will   under this Performance Measure.
                        be provided the diet, if clinically    Appropriate documentation will be
                        indicated. When prescribing the        determined upon review.
                        special diet, the provider will
                        include the type of diet, duration
                        for which it is to be provided, and
                        any special instructions.
Medical     72          Inmates who refuse prescribed diets    At each yard, a minimum 10 records per        ADC dietary liaison and
Diets                   for more than 3 consecutive days       month are randomly selected, if qualified     eOmis.
                        will receive follow-up nutritional     under this Performance Measure. Dietary
                        counseling by a QHCP.                  liaison will advise regarding non-
                                                               compliance, which will be followed up
                                                               with nutritional counseling. Appropriate
                                                               documentation will be determined upon
                                                               review.
Mental      73          All MH-3 minor prisoners shall be      An AIMS report will be run monthly by         AIMS Report
Health                  seen by a licensed mental health       the HSCMB MH staff of all MH-3 minor
                        clinician a minimum of every 30        prisoners. 10 records will be randomly
                        days.                                  selected from the report for review.
Mental      74          All female prisoners shall be seen     The HSCMB MH staff will review the            Hospital Report
Health                  by a licensed mental health            hospital reports and review the records of
                        clinician within five working days     all post-partum women from the previous
                        of return from a hospital post-        30 days.
                        partum.
Mental      75          A mental health assessment of a        An AIMS report will be run for the            AIMS Report
Health                  prisoner during initial intake shall   Phoenix and Perryville reception centers,
                        be completed by mental health staff    and if applicable, the Tucson minor males
                        by the end of the second full day      reception center. 10 records (if available)
                        after the prisoner’s arrival into      will be reviewed from each reception
                        ADC.                                   center for compliance with this
                                                               performance measure.
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 Category   Measure #             Final Measure                                 Protocol                      Source of Records /
                                                                                                                   Review
Mental      76          If the initial mental health           Of the records reviewed in #74, if any of    AIMS Report
Health                  assessment of a prisoner during        the initial MH evaluation was not
                        initial intake is not performed by     completed by a licensed MH staff, then the
                        licensed mental health staff, the      record will be re-reviewed in 20 days for
                        prisoner shall be seen by a mental     compliance with this performance
                        health clinician within fourteen       measure.
                        days of his or her arrival into ADC.
Mental      77          Mental health treatment plans shall    An AIMS report will be run for all MH-3      AIMS Report
Health                  be updated a minimum of every 90       and above prisoners at each Complex. 10
                        days for MH-3A, MH-4, and MH-5         records will be reviewed per yard for
                        prisoners, and a minimum of every      compliance with the treatment plan time
                        12 months for all other MH-3           frames.
                        prisoners.
Mental      78          All mental health treatment plan       Each record that is reviewed for treatment   AIMS Report
Health                  updates shall be done after a face-    plan compliance will also be reviewed for
                        to-face clinical encounter between     a face-to-face SOAPE note dated the same
                        the prisoner and the mental health     date.
                        provider or mental health clinician.
Mental      79          If a prisoner's mental health          For all records reviewed for inmates on      AIMS Report
Health                  treatment plan includes                medications, it will be determined if this
                        psychotropic medication, the           performance measure was complied with.
                        mental health provider shall
                        indicate in each progress note that
                        he or she has reviewed the
                        treatment plan.
Mental      80          MH-3A prisoners shall be seen a        An AIMS report will be run for all MH-3A AIMS Report
Health                  minimum of every 30 days by a          prisoners at each Complex. 10 records (if
                        mental health clinician.               available) will be reviewed per yard for
                                                               compliance.
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 Category   Measure #             Final Measure                               Protocol                   Source of Records /
                                                                                                              Review
Mental      81          MH3-A prisoners who are               The records reviewed for performance     AIMS Report
Health                  prescribed psychotropic               measure #80 will also be reviewed for
                        medications shall be seen a           compliance if they are on medications.
                        minimum of every 90 days by a
                        mental health provider.
Mental      82          MH-3B prisoners shall be seen a       An AIMS report will be run for all MH-3B AIMS Report
Health                  minimum of every 90 days by a         prisoners at each Complex. 10 records (if
                        mental health clinician.              available) will be reviewed per yard for
                                                              compliance.
Mental      83          MH-3B prisoners who are               The records reviewed for performance      AIMS Report
Health                  prescribed psychotropic               measure #82 will also be reviewed for
                        medications shall be seen a           compliance if they are on medications.
                        minimum of every 180 days by a
                        mental health provider. MH-3B
                        prisoners who are prescribed
                        psychotropic medications for
                        psychotic disorders, bipolar
                        disorder, or major depression shall
                        be seen by a mental health provider
                        a minimum of every 90 days.
Mental      84          MH-3C prisoners shall be seen a    An AIMS report will be run for all MH-3C AIMS Report
Health                  minimum of every 180 days by a     prisoners at each Complex. 10 records (if
                        mental health provider.            available) will be reviewed per yard for
                                                           compliance.
Mental      85          MH-3D prisoners shall be seen by a An AIMS report will be run for all MH-3D AIMS Report
Health                  mental health provider within 30   prisoners at each Complex. 10 records (if
                        days of discontinuing medications. available) will be reviewed per yard for
                                                           compliance.
Mental      86          MH-3D prisoners shall be seen a    The Records reviewed for Performance      AIMS Report
Health                  minimum of every 90 days by a      Measure #85 will also be reviewed for
                        mental health clinician for a      compliance with this performance
                        minimum of six months after        measure.
                        discontinuing medication
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 Category   Measure #             Final Measure                                 Protocol                       Source of Records /
                                                                                                                    Review
Mental      87          MH-4 prisoners shall be seen by a      An AIMS report will be run for all            AIMS Report
Health                  mental health clinician for a 1:1      complexes that have MH-4 prisoners. 10
                        session a minimum of every 30          records (if available) will be reviewed per
                        days.                                  yard for compliance.
Mental      88          MH-4 prisoners who are prescribed      The Records reviewed for Performance          AIMS Report
Health                  psychotropic medications shall be      Measure #87 will also be reviewed for
                        seen by a mental health provider a     compliance with this performance
                        minimum of every 90 days.              measure.
Mental      89          MH-5 prisoners shall be seen by a      An AIMS report will be run for the            AIMS Report
Health                  mental health clinician for a 1:1      Phoenix Complex (MH-5 inmates). 10
                        session a minimum of every seven       records (if available) will be reviewed per
                        days.                                  yard for compliance.
Mental      90          MH-5 prisoners who are prescribed      The Records reviewed for Performance          AIMS Report
Health                  psychotropic medications shall be      Measure #89 will also be reviewed for
                        seen by a mental health provider a     compliance with this performance
                        minimum of every 30 days.              measure.
Mental      91          MH-5 prisoners who are actively        The Records reviewed for Performance          AIMS Report
Health                  psychotic or actively suicidal shall   Measure #89 will also be reviewed for
                        be seen by a mental health clinician   compliance with this performance
                        or mental health provider daily.       measure.
Mental      92          MH-3 and above prisoners who are       An MH-3 report will be run for all            AIMS Report
Health                  housed in maximum custody shall        maximum custody yards. 10 records (if
                        be seen by a mental health clinician   available) will be reviewed per yard for
                        for a 1:1 or group session a           compliance.
                        minimum of every 30 days.
Mental      93          Mental health staff (not to include    The Records reviewed for Performance          AIMS Report
Health                  LPNs) shall make weekly rounds         Measure #92 will also be reviewed for
                        on all MH-3 and above prisoners        compliance with this performance
                        who are housed in maximum              measure.
                        custody.
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 Category   Measure #            Final Measure                              Protocol                       Source of Records /
                                                                                                                 Review
Mental      94          All prisoners on a suicide or mental The Contractor will develop and provide to Suicide Watch Log
Health                  health watch shall be seen daily by HSCMB MH Staff a log weekly of all
                        a licensed mental health clinician    inmates currently on watch. A minimum
                        or, on weekends or holidays, by a     of 10 records (if available) per Complex
                        registered nurse.                     will be reviewed, except ASPC Eyman,
                                                              where 20 records will be reviewed.
Mental      95          Only licensed mental health staff     The Contractor will develop and provide to Suicide Watch Log
Health                  may remove a prisoner from a          HSCMB MH Staff a log weekly of all
                        suicide or mental health watch.       inmates discontinued off watch. A
                        Any prisoner discontinued from a      minimum of 10 records (if available) per
                        suicide or mental health watch shall Complex will be reviewed, except ASPC
                        be seen by a mental health            Eyman, where 20 records will be
                        provider, mental health clinician, or reviewed.
                        psychiatric registered nurse
                        between 24 and 72 hours after
                        discontinuation, between seven and
                        ten days after discontinuation, and
                        between 21 and 24 days after
                        discontinuation of the watch.
Mental      96          A reentry/discharge plan shall be     An AIMS report will be run for those       AIMS Report
Health                  established no later than 30 days     inmates releasing in the next 30 days. 10
                        prior to release from ADC for all     records (if available) per yard will be
                        prisoners who are MH-3 or above.      reviewed.
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 Category   Measure #             Final Measure                                  Protocol                       Source of Records /
                                                                                                                      Review
Mental      97          A mental health provider treating a     The Contracted Vendor will supply the         Provider Line
Health                  prisoner via telepsychiatry shall be    Appointment Logs for the previous 30          Appointment Logs
                        provided, in advance of the             days to the HSCMB MH staff. 10 records
                        telepsychiatry session, the             (if available) from each yard utilizing
                        prisoner’s intake assessment, most      telepsychiatry will be reviewed for
                        recent mental health treatment plan,    compliance with this performance
                        laboratory reports (if applicable),     measure.
                        physician orders, problem list, and
                        progress notes from the prisoner’s
                        two most recent contacts with a
                        mental health provider.
Mental      98          Mental health HNRs shall be             The Contracted Vendor will provide each       HNR Log
Health                  responded to within the timeframes      week an HNR log for each Complex. 10
                        set forth in the Mental Health          records (if available) from each yard will
                        Technical Manual (MHTM) (rev.           be reviewed for compliance with this
                        4/18/14), Chapter 2, Section 5.0.       performance measure.
Mental      99          Peer reviews shall be conducted as      The Contracted Vendor will provide a          Contracted vendor
Health                  set forth in the MHTM (rev.             report on all required peer reviews for the   report.
                        4/18/14), Chapter 1, Section 3.0.       Psychiatrists, Psychiatric Nurse
                                                                Practitioners, and Psychologists to the
                                                                HSCMB.
Dental      100         Prisoners on the routine dental care    At each yard, a minimum 10 records per        Dental medical records
                        list will not be removed from the       month are randomly selected, if qualified     and Dental HNR's.
                        list if they are seen for urgent care   under this Performance Measure.
                        or pain appointments that do not        Appropriate handling and timeliness will
                        resolve their routine care issues or    be determined upon review. Dental HNR's
                        needs.                                  will be reviewed and compared with
                                                                medical record to identify any conflict or
                                                                non-compliance.
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 Category      Measure #              Final Measure                                Protocol                       Source of Records /
                                                                                                                       Review
Dental         101          Dental assistants will take inmate     At each yard, a minimum 10 records per       eOmis.
                            histories and vital signs and dental   month are randomly selected, if qualified
                            radiographs (as ordered) by the        under this Performance Measure.
                            Dentist.                               Appropriate handling and timeliness will
                                                                   be determined upon review.
Dental         102          Routine dental care wait times will    At each yard, a minimum 10 records per       Dental medical records
                            be no more than 90 days from the       month are randomly selected, if qualified    and Dental HNR's.
                            date the HNR was received.             under this Performance Measure.
                                                                   Appropriate handling and timeliness will
                                                                   be determined upon review. Dental HNR's
                                                                   will be reviewed and compared with
                                                                   medical record to identify any conflict or
                                                                   non-compliance.
Dental         103          Urgent care wait times, as             At each yard, a minimum 10 records per       Dental medical records
                            determined by the contracted           month are randomly selected, if qualified    and Dental HNR's.
                            vendor, shall be no more than 72       under this Performance Measure.
                            hours from the date the HNR was        Appropriate handling and timeliness will
                            received.                              be determined upon review. Dental HNR's
                                                                   will be reviewed and compared with
                                                                   medical record to identify any conflict or
                                                                   non-compliance.


For any performance measure requiring a review of a minimum of 10 records per month per yard, in the event of an insufficient sample
size of less than 10 records, the sample will be drawn from the entire complex.



Monitoring for medical, mental health and dental Outcome Measures specified herein will be conducted by ADC’s Monitoring Bureau.
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MAXIMUM CUSTODY OUTCOME MEASURES

Measure #   Outcome Measure
1           All maximum custody prisoners at Eyman-Browning, Eyman-SMU I,
            Florence Central, Florence-Kasson, and Perryville-Lumley Special
            Management Area (Yard 30) who are eligible for participation in DI 326 are
            offered a minimum of 7.5 hours out-of-cell time per week. Those at Step II
            are offered a minimum of 8.5 hours out-of-cell time per week, and those at
            Step III are offered a minimum of 9.5 hours out-of-cell time per week.

2           All maximum custody prisoners at Eyman-Browning, Eyman-SMU I,
            Florence Central, Florence-Kasson, and Perryville-Lumley Special
            Management Area (Yard 30) who are eligible for participation in DI 326 are
            offered at least one hour of out-of-cell group programming a week at Step II
            and Step III.

3           All out-of-cell time that is limited or cancelled is properly documented and
            justified in accordance with the terms of the Stipulation.

4           All maximum custody prisoners receive meals with the same caloric and
            nutritional content as meals served to other ADC prisoners.

5           All maximum custody prisoners at Eyman-Browning, Eyman-SMU I,
            Florence Central, Florence-Kasson, and Perryville-Lumley Special
            Management Area (Yard 30) are offered a minimum of 6 hours of out-of-
            cell exercise time a week.

6           All maximum custody prisoners at Eyman-Browning, Eyman-SMU I,
            Florence Central, Florence-Kasson, and Perryville-Lumley Special
            Management Area (Yard 30), who are eligible for participation in DI 326
            are offered out-of-cell time, incentives, programs and property consistent
            with their Step Level and housing assignment under the DI 326 policy.

7           No prisoners with a mental health classification of MH3 or higher are
            housed in Florence Central-CB 5 or CB-7 unless the cell fronts are
            substantially modified to increase visibility.
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Measure #   Outcome Measure
8           In addition to the general privileges and incentives afforded to prisoners
            under DI 326, all SMI prisoners in maximum custody receive:
                 10 hours of unstructured out-of-cell time per week
                 1 hour of additional out-of-cell mental health programming per week
                 1 hour of additional out-of-cell psycho-educational programming per
                   week
                 1 hour of additional out-of-cell programming per week

9           All use of force incidents involving prisoners who are designated SMI or
            housed in Florence-CB-1 or CB-4; Florence-Kasson (Wings 1 and 2);
            Eyman-SMU I (BMU); Perryville-Lumley SMA; or Phoenix (Baker,
            Flamenco, or MTU) conform to the policies for use of force set forth in ¶ 27
            (a)-(e) of the Stipulation.
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                   EXHIBIT E
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MAXIMUM CUSTODY OUTCOME MEASURE PROTOCOL

Final     Outcome Measure                                Protocol                                   Source of
Measure                                                                                             Records/Review
#
1         All maximum custody prisoners at               At each designated location, Max Custody   Max Custody Monthly
          Eyman-Browning, Eyman-SMU I,                   Monthly Activity Schedule Calendars are    Activity Schedule
          Florence Central, Florence-Kasson, and         selected for each monitored month.
          Perryville-Lumley Special Management
          Area (Yard 30) who are eligible for            At each designated location, Max Custody Max Custody Daily Out
          participation in DI 326 are offered a          Daily Out of Cell Time Tracking Forms are of Cell Time Tracking
          minimum of 7.5 hours out-of-cell time          reviewed for one randomly selected week   Form
          per week. Those at Step II are offered a       for each monitored month, for 10 randomly
          minimum of 8.5 hours out-of-cell time          selected prisoners.
          per week, and those at Step III are offered
          a minimum of 9.5 hours out-of-cell time
          per week.

2         All maximum custody prisoners at               At each designated location, Max Custody   Max Custody Monthly
          Eyman-Browning, Eyman-SMU I,                   Monthly Activity Schedule Calendars are    Activity Schedule
          Florence Central, Florence-Kasson, and         selected for each monitored month.
          Perryville-Lumley Special Management
          Area (Yard 30) who are eligible for            At each designated location, Max Custody Max Custody Daily Out
          participation in DI 326 are offered at least   Daily Out of Cell Time Tracking Forms are of Cell Time Tracking
          one hour of out-of-cell group                  reviewed for one randomly selected week   Form
          programming a week at Step II and Step         for each monitored month, for 10 randomly
          III.                                           selected prisoners.

                                                         At each designated location, DI 326        Program Attendance/
                                                         Programming Attendance/Sign In Sheets      Sign In Sheets
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Final     Outcome Measure                              Protocol                                    Source of
Measure                                                                                            Records/Review
#
                                                       for Step II and III are reviewed for one  (containing prisoner
                                                       randomly selected week for each           signature)
                                                       monitored month, for 10 randomly selected
                                                       prisoners.

3         All out-of-cell time specified in Outcome    At each designated location, Max Custody    Max Custody Daily Out
          Measures 1, 2, 8 that is limited or          Daily Out of Cell Time Tracking Forms are   of Cell Time Tracking
          cancelled is properly documented and         reviewed for one randomly selected week     Form
          justified in accordance with the terms of    for each monitored month, for 10 randomly
          the Stipulation as set forth in ¶26 of the   selected prisoners.                         Warden Certification of
          Stipulation.                                                                             individual security risk
                                                                                                   necessitating limitation
                                                                                                   or cancellation where
                                                                                                   applicable to randomly
                                                                                                   selected prisoner

4         All maximum custody prisoners receive        At each designated location, Monthly Max    Max Custody Monthly
          meals with the same caloric and              Custody Prisoner Food Services Menus are    Prisoner Meal Food
          nutritional content as meals served to       selected for each monitored month.          Services Menu
          other ADC prisoners.

5         All maximum custody prisoners at             At each designated location, Max Custody Max Custody Daily Out
          Eyman-Browning, Eyman-SMU I,                 Daily Out of Cell Time Tracking Forms are of Cell Time Tracking
          Florence Central, Florence-Kasson, and       reviewed for one randomly selected week   Form
          Perryville-Lumley Special Management         for each monitored month, for 10 randomly
          Area (Yard 30) are offered a minimum of      selected prisoners.
          6 hours of out-of-cell exercise time a
          week.
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Final     Outcome Measure                               Protocol                                      Source of
Measure                                                                                               Records/Review
#
6         All maximum custody prisoners at              At each designated location, Max Custody      Max Custody Monthly
          Eyman-Browning, Eyman-SMU I,                  Monthly Activity Schedule Calendars are       Activity Schedule
          Florence Central, Florence-Kasson, and        selected for each monitored month.
          Perryville-Lumley Special Management
          Area (Yard 30), who are eligible for          At each designated location, Max Custody Max Custody Daily Out
          participation in DI 326 are offered out-of-   Daily Out of Cell Time Tracking Forms are of Cell Time Tracking
          cell time, incentives, programs and           reviewed for one randomly selected week     Form
          property consistent with their Step Level     for each monitored month, for 10 randomly
          and housing assignment under the DI 326       selected prisoners.
          policy.                                                                                   Program
                                                        At each designated location, DI 326         Attendance/Sign In
                                                        Programming Attendance/Sign In Sheets       Sheets (containing
                                                        are reviewed for one randomly selected      prisoner signature)
                                                        week for each monitored month, for 10
                                                        randomly selected prisoners.
                                                                                                    Prisoner Property Files
                                                        At each designated location, a minimum of
                                                        10 Prisoner Property Files are randomly
                                                        selected and reviewed to identify access to
                                                        allowable property consistent with Step
                                                        Level under DI 326 for each monitored
                                                        month.


7         No prisoners with a mental health             At each designated location, the Housing      Housing Assignment
          classification of MH3 or higher are           Assignment Log for maximum custody            Log for maximum
          housed in Florence Central-CB 5 or CB-7       prisoners with mental health classification   custody prisoners with
          unless the cell fronts are substantially      of MH3 or higher is reviewed for one          mental health
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Final     Outcome Measure                             Protocol                                       Source of
Measure                                                                                              Records/Review
#
          modified to increase visibility.            randomly selected day of each monitored        classification of MH3 or
                                                      month and reviewed for: 1) any housing         higher
                                                      assignments in CB-5 and CB-7; and 2) if so
                                                      housed, whether prisoner is housed in a cell
                                                      with modified cell front.
8         In addition to the general privileges and   At each maximum custody unit where SMI         Max Custody Monthly
          incentives afforded to prisoners under DI   prisoners are housed, Max Custody              Activity Schedule
          326, all SMI prisoners in maximum           Monthly Activity Schedule Calendars are
          custody receive:                            selected for each monitored month.
               10 hours of unstructured out-of-                                                     Max Custody Daily Out
                 cell time per week                   At each maximum custody unit where SMI         of Cell Time Tracking
               1 hour of additional out-of-cell      prisoners are housed, Max Custody Daily        Form
                 mental health programming per        Out of Cell Time Tracking Forms are
                 week                                 reviewed for one randomly selected week
               1 hour of additional out-of-cell      of each monitored month, for 10 randomly       DI 326 Program
                 psycho-educational programming       selected prisoners.                            Attendance/Sign In
                 per week                                                                            Sheets (containing
               1 hour of additional out-of-cell      At each maximum custody unit where SMI         prisoner signature)
                 programming per week                 prisoners are housed, DI 326 Programming
                                                      Attendance/Sign In Sheets are reviewed for
                                                      one randomly selected week of each         Mental Health Program
                                                      monitored month, for 10 randomly selected Attendance/Sign In
                                                      prisoners.                                 Sheets (containing
                                                                                                 prisoner signature)
                                                      At each maximum custody unit where SMI
                                                      prisoners are housed, Mental Health
                                                      Programming Attendance/Sign In Sheets
                                                      are reviewed for one randomly selected
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Final      Outcome Measure                                 Protocol                                      Source of
Measure                                                                                                  Records/Review
#
                                                           week of each monitored month, for 10
                                                           randomly selected prisoners.


9          All use of force incidents involving            At each designated location, Use of Force     SIR Packet;
           maximum custody prisoners classified as         SIRs/Use of Force Review Packets (if          Use of Force Review
           SMI, and in the following housing areas:        applicable) are selected for each monitored   Packet (if applicable);
           Florence-CB-1 and CB-4; Florence-               month for maximum custody SMI                 incident video (if
           Kasson (Wings 1 and 2); Eyman-SMU I             prisoners where force utilized involved       applicable)
           (BMU); Perryville-Lumley SMA; and               chemical agents and incident is reviewed
           Phoenix (Baker, Flamenco, and MTU),             for compliance with the procedures for use
           conform to the policies for use of force        of force set forth in ¶ 27 (a)-(e) of the
           set forth in ¶ 27 (a)-(e) of the Stipulation.   Stipulation



Monitoring for maximum custody Outcome Measures will be conducted by designated ADC staff at each location specified
herein.
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                   EXHIBIT F
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ARIZONA DEPARTMENT OF CORRECTIONS

Mental Health Seriously Mentally Illness (SMI) Determination

   Inmates with a Mental Health Score of 3 or greater will be assessed as clinically indicated to determine if the criteria for SMI is met. To be
   considered SMI in ADC the inmate must have a qualifying diagnosis [as indicated below] and present with at least one identified level of the
   severe functional impairment as the result of the mental illness [Reference MHTM 4-5.0].

                Anxiety Disorders
                300.00 Anxiety Disorder NOS; 300.01 Panic Disorder without Agoraphobia; 300.02 Generalized Anxiety Disorder; 300.14
                Dissociative Identity Disorder; 300.21 Panic Disorder with Agoraphobia, and 300.22 Agoraphobia without History of Panic
                Disorder, 300.03 Obsessive Compulsive Disorder; and 309.81 Post -Traumatic Stress Disorder.

                Bipolar Disorder
                296.0x Bipolar 1 Single Manic Episode, 296.4x Bipolar I Most Recent Episode Manic, 296.5x Bipolar I Most Recent
                Episode Depressed, 296.6x Bipolar I Most Recent Episode Mixed, 296.7 Bipolar I Most Recent Episode Unspecified,
                296.80 Bipolar Disorder NOS, and 296.89 Bipolar II Disorder.

                Depressive Disorders
                296.2x Major Depressive Disorder, Single Episode; 296.3x Major Depressive Disorder, Recurrent; 296.90 Mood Disorder
                NOS; 300.4 Dys

                Psychotic Disorders
                295.10, Schizophrenia Disorganized Type, 295.20 Schizophrenia Catatonic Type, 295.30 Schizophrenia Paranoid Type,
                295.60 Schizophrenia Residual Type, 295.90 Schizophrenia Undifferentiated, 295.70 Schizoaffective Disorder, 297.1
                Delusional Disorder, and 298.9 Psychotic Disorder NOS.

                Personality Disorders
                301.0 Paranoid Personality Disorder, 302.20 Schizoid Personality Disorder, 301.22 Schizotypal Personality Disorder,
                301.4 Obsessive-Compulsive Disorder, 301.50 Histrionic Personality Disorder, 301.6 Dependent Personality Disorder,
                301.81 Narcissistic Personality Disorder; 301.82 Avoidant Personality Disorder; 301.83 Borderline Personality Disorder;
                and 301.9 Personality Disorder NOS.

                  The inmate does not meet any criteria listed above. The inmate is not eligible for SMI status.

   The inmate posses a severe functional impairment as evidenced by [check as appropriate]:

        A serious and persistent inability to perform developmentally appropriate occupational or school functioning.
        Inability to live in General Population without supervision (self-care-basic needs): Impairment in the inmate's ability to
        function independently including the capacity to provide or arrance for needs such as food, personal hygiene,
        clothing, medical, dental and mental health care.
        Risk of harm to self or others.
        Risk of Deterioration: The individual does not currently meet any of the above functional criteria, 1 through 3, but may
        be expected to deteriorate to such a level without treatment. If the reviewer concurs with this statement, please document
        the reason below.

       F Diagnostic Category I diagnosis with probable chronic, relapsing and remitting course
       F Co-morbidities (like mental retardation, substance dependence, personality disorder)
       F Persistent  or chronic factors such as social isolation, poverty, extreme chronic stressors (life-threatening or
         debilitating medical illnesses, victimization).
       F Other (past psychiatric history; gains in functioning have not solidified or are a result of current compliance
           only; court-committed; care is complicated; care is complicated and requires multiple providers.)

                  Inmate does not meet any of the criteria for functional impairment. The inmate is not eligible for SMI status.


                  Inmate meets the SMI diagnostic and functional impairment criteria above. The inmate is SMI in ADC.




    Mental Health Staff Name/Stamp                               Mental Health Staff Signature                                        Date


                                                                             Inmate Name (Last, First M.I.)                     ADC Number



                                                                             Date of Birth             Facility/Unit



                                                                                                                                              1103-13
                                                                                                                                              12/19/12
